USCA4 Appeal: 23-1890           Doc: 11-4              Filed: 09/01/2023         Pg: 1 of 1

                     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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  [✔ ]Pro Bono [ ]Government

               Parents Nicholas Brown, Zeina El Debs, Timothy Janss, Dagmar Janss, and
  COUNSEL FOR: _______________________________________________________________________

  Stephanie Pate
  __________________________________________________________________________________ as the
                                                      (party name)

      appellant(s)    appellee(s)     petitioner(s)      respondent(s) ✔ amicus curiae         intervenor(s)   movant(s)


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